Case 1:21-cv-00626-MN Document 6 Filed gga eases

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May 11, 2021
Via CM/ECF

The Honorable Maryellen Noreika
United States District Court for the District of Delaware

J. Caleb Boggs Federal Building
844 N. King Street, Unit 19
Room 4324

Wilmington, DE 19801-3555

RE: Rothschild Broadcast Distribution Systems, LLC v. Angelcam, Inc.

1:21-cv-00626-MN
Associated Cases: 1:21-cv-00627-MN, and 1:21-cv-00629-MN through 1:21-cv-

00632-MN

Dear Judge Noreika,

On April 30, 2021, Complaints were filed in the above referenced matters.

Unfortunately, a list of related cases was not filed with the Complaints. I apologize for the

oversight and have attached the same as Exhibit “A”.

As always, I remain available at the convenience of the Court to address any questions or

concerms.

Respectfully submitted,

/s/David W_deBruin
David W. deBruin, Esq. (DE Bar ID No. 4846)

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EXHIBIT A
LIST OF RELATED CASES
Related Cases
Case Case Filing Date

Rothschild Broadcast Distribution Systems, LLC v. Angelcam, Inc. 4/30/21
1-21-cv-00626 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. Blackboard Inc. 4/30/21
1-21-cv-00627 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. Check Video, 4/30/21
LLC
1-21-cv-00629 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. March 4/30/21
Networks, Inc.
1-21-cv-00630 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. Mobile Video 4/30/21
Solutions, Inc.

1-21-cv-00631 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. The Conference 4/30/21

Group, LLC
1-21-cv-00632 (DDE)

Rothschild Broadcast Distribution Systems, LLC v. LiveXLive 3/19/20
Media, Inc.
1-20-cv-00395 (DDE)

